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lN THE UNITED STATES DISTRICT COURT 05 JUL 13 AH |[]: 28
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION '{HWAS p {_:&}LD

  

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UNITED STATES OF AMERICA,
Plaintiff,

v.

Criminal No. 04-20450 B

ROSETTA PERKINS-BROWN,

and LARRY VERNELL BULLOCK,

Defendants.

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CONSENT ORDER AMEN])ING BOND CONDITIONS TO ALLOW TRAVEL

 

The United States and the defendant, Rosetta Perkins-Brown, by and through counsel,
hereby propose to the Court an amendment to the bond conditions for Rosetta Perkins-Brown to
allow Ms. Perkins to travel to San Diego, California to attend the National Association for Home
Care and Hospice's Annual Financial Conference from Ju]y 2(), 2005 through July 24, 2005 and
to return to Memphis, Tennessee at the conclusion of the conference Otherwise, the bond
conditions applicable to Ms. Perl<ins will remain in full force and effect

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ir rs so oRDERED this the /_‘¢_ day ofJuiy, 2005.

 

ono able J. Daniel Breen
Unite States District Judge
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APPROVED AS TO FORM:

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Honorable .l. Breen
US DISTRICT COURT

